  Case 1:21-cv-00892-RP Document 33 Filed 05/10/23 Page 1 of 3


                                                                       FILED
                                                                     May 10, 2023
       United States Court of Appeals                           CLERK, U.S. DISTRICT COURT
                                                                WESTERN DISTRICT OF TEXAS


            for the Fifth Circuit                                             klw
                                                             BY: ________________________________
                                                                                     DEPUTY
                           ___________

                            No. 23-50090
                           ___________

Kimberly D. Hogan,

                                                   Plaintiff—Appellant,

                                versus

Aspire Financial, Incorporated, doing business as Aspire
Lending; Donald E. Uloth; Felicia Pitre, Clerk of the Court;
Dallas County 162nd District Court; Melinda Thomas,
Court Coordinator; Dallas 162nd District Court; Lisa Matz,
Appellate Court Clerk; Dallas 5th Court of Appeals; Kristen
Golby, Deputy Clerk of the Court; Supreme Court of Texas;
Blake A. Hawthorne, Clerk of the Court; Supreme Court of
Texas; John and Jane Does 1-100; Tyler Technologies,

                                      Defendants—Appellees.
             ______________________________

             Appeal from the United States District Court
                  for the Western District of Texas
                       USDC No. 1:21-CV-892
             ______________________________

         ON PETITION FOR REHEARING EN BANC

                    UNPUBLISHED ORDER

Before Elrod, Graves, and Ho, Circuit Judges.
Per Curiam:
  Case 1:21-cv-00892-RP Document 33 Filed 05/10/23 Page 2 of 3
                              No. 23-50090




      Treating the petition for rehearing en banc as a motion for
reconsideration (5th Cir. R. 35 I.O.P.), the motion for reconsideration
is DENIED. Because no member of the panel or judge in regular active
service requested that the court be polled on rehearing en banc (Fed. R.
App. P. 35 and 5th Cir. R. 35), the petition for rehearing en banc is
DENIED.




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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                              May 10, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-50090     Hogan v. Aspire Financial
                       USDC No. 1:21-CV-892

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk

                                  By: _________________________
                                  Casey A. Sullivan, Deputy Clerk
                                  504-310-7642
Mr. Philip Devlin
Ms. Kimberly D. Hogan
